                    IN THE UNITED STATES DISTRICT COURT FOR THE
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION


 CYNTHIA REDD, individually and on
 behalf of all others similarly situated,

                        Plaintiff,                        Case No. 1:22-cv-06779

        v.

 AMAZON WEB SERVICES, INC.,                               Hon. Elaine E. Bucklo

                        Defendant.

                                        DECLARATION

       I, Ryan Spear, hereby declare as follows:

       1.      I am an attorney with Perkins Coie LLP, which represents defendant

Amazon Web Services, Inc. (“AWS”) in this litigation. I am over the age of 18 and competent to

testify as to the matters in this Declaration. I make this Declaration based on my personal

knowledge.

       2.      Perkins Coie actively tracks lawsuits under the Illinois Biometric Information

Privacy Act (“BIPA”). As a result of that effort, I am aware that more than 1,500 putative class

actions have been filed under BIPA.

       3.      Attached as Exhibit A is a true and correct copy of a publicly available document

published in October 2021 by the U.S. Chamber of Commerce’s Institute for Legal Reform and

titled A Bad Match: Illinois and the Biometric Information Privacy Act. This document was

retrieved at my direction from the Institute’s website and is accessible at

https://instituteforlegalreform.com/wp-content/uploads/2021/10/ILR-BIPA-Briefly-FINAL.pdf.

       4.      Attached as Exhibit B is a true and correct copy of the publicly available

“Amazon Rekognition FAQs” page. This document was retrieved at my direction from the AWS

website and is accessible at https://aws.amazon.com/rekognition/faqs/?nc=sn&loc=7.

DECLARATION OF RYAN SPEAR                                                 Perkins Coie LLP
(No. 1:22-cv-06779) – 1                                            1201 Third Avenue, Suite 4900
                                                                   Seattle, Washington 98101-3099
                                                                         Phone: 206.359.8000
                                                                          Fax: 206.359.9000
       5.     Attached as Exhibit C is a true and correct copy of the publicly available

AWS Customer Agreement. This document was retrieved at my direction from the AWS website

and is accessible at https://aws.amazon.com/agreement/.

       6.     Attached as Exhibit D is a true and correct copy of the publicly available

AWS Service Terms. This document was retrieved at my direction from the AWS website and is

accessible at https://aws.amazon.com/service-terms/.

       7.     Attached as Exhibit E is a true and correct copy of a publicly available document

published by AWS and titled Using AWS in the Context of Common Privacy and Data

Protection Considerations. This document was retrieved at my direction from the AWS website

and is accessible at https://d1.awsstatic.com/whitepapers/compliance/

Using_AWS_in_the_context_of_Common_Privacy_and_Data_Protection_Considerations.pdf.

       8.     Attached as Exhibit F is a true and correct copy of the publicly available

“AWS Data Privacy FAQ” page. This document was retrieved at my direction from the AWS

website and is accessible at https://aws.amazon.com/compliance/data-privacy-faq/.

       9.     Attached as Exhibit G is a true and correct copy of a Memorandum Opinion and

Order issued in Hogan v. Amazon.com, Inc., No. 21CH02330 (Ill. Cir. Ct. Dec. 6, 2022).

       10.    Attached as Exhibit H is a true and correct copy of a Report of Proceedings in

Guszkiewicz v. Beelman Truck Co., No. 2021L001248 (Ill. Cir. Ct. Nov. 2, 2022).


       I declare under penalty of perjury that the foregoing is true and correct.


       EXECUTED at Seattle, Washington, this 17th day of January, 2023.


                                                  /s/ Ryan Spear
                                                  Ryan Spear




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